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 Attorney or Party Name, Address, Telephone & FAX                        FOR COURT USE ONLY
 Numbers, State Bar Number & Email Address
Edward Jason Dennis
Lynn Pinker Cox & Hurst, LLP
2100 Ross Avenue
Suite 2700
Dallas, TX 75201
jdennis@lynnllp.com
Admitted Pro Hac Vice




     Plaintiff(s) appearing without attorney
     Attorney for Plaintiff(s)

                                      UNITED STATES BANKRUPTCY COURT
                        CENTRAL DISTRICT OF CALIFORNIA - NORTHERN DIVISION                                       DIVISION

 In re:
Channel Technologies Group, LLC                                          CASE NUMBER: 9:16-bk-11912-DS
                                                                         ADVERSARY NUMBER: 9:18-ap-01058-DS
                                                                         CHAPTER: 11
                                                          Debtor(s).

Corporate Recovery Associates, LLC
                                                                                  PLAINTIFF’S MOTION FOR DEFAULT
                                                                                    JUDGMENT UNDER LBR 7055-1

                                                         Plaintiff(s),   DATE: 04/28/2020
                                 vs.                                     TIME: 11:30 am
                                                                         COURTROOM: 201
Blue Wolf Capital Partners, LLC, et al.
                                                                         ADDRESS:
                                                                                    1415 State Street
                                                                                    Santa Barbara, CA 93101

                                                     Defendant(s).


TO THE DEFENDANT, DEFENDANT'S ATTORNEY AND OTHER INTERESTED PARTIES:

                                                                                 Pengdi Han
1. Name of Defendant(s) against whom default judgment is sought (specify name): _____________________________
   _____________________________________________________________________________________________
2. Plaintiff filed the complaint in the above-captioned proceeding on (specify date): 11/05/2018
3. The Summons and Complaint were served on Defendant by                                 personal service                mail service
   on the following date (specify date): 11/08/2018
4. A true and correct copy of the completed return of summons form is attached.

                “Bankruptcy Code” and “11 U.S.C.” refer to the United States Bankruptcy Code, Title 11 of the United States Code.
    “FRBP” refers to the Federal Rules of Bankruptcy Procedure. “LBR” and “LBRs” refer to the Local Bankruptcy Rule(s) of this court.

             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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5. The time for filing an answer or other response expired on (specify date): 12/07/2018


6. No answer or other response has been filed or served by Defendant.
7. The default of Defendant:
    a.          Has not yet been entered, but is requested
    b.          Was entered on (specify date): 10/10/2019

8. A Status Conference:
    a.                                                            April 28, 2020 at 11:30 a.m.
                Is scheduled for (specify date, time, and place): ______________________________________
                 1415 State Street, Courtroom 201, Santa Barbara, CA 93101
                ____________________________________________________________________________

    b.          Was held on (specify date, time, and place): _________________________________________
                ____________________________________________________________________________

9. As proof that Plaintiff is entitled to the relief requested in the complaint, Plaintiff:
    a.         Relies on the complaint and attached documents.
    b.         Attaches the following documents to establish a prima facie case:

         (1)                                  Richard Feferman
                    Declaration of (specify): ____________________________________________________

         (2)                                  Richard Bass
                    Declaration of (specify): ____________________________________________________

         (3)        Other (specify): ___________________________________________________________

10. As further support for entry of a default judgment, Plaintiff submits a memorandum of points and authorities (optional).

11. DECLARATION OF NON-MILITARY STATUS (Servicemembers Civil Relief Act, 50 U.S.C. chapter 50 (§§ 3901-
    4043)). The undersigned party or counsel declares under penalty of perjury, with respect to each Defendant against
    whom a default judgment is sought by this motion:

    a.          Defendant is not currently in military service. The facts that support this statement are as follows (see the
                court’s website for information about how to verify non-military status):
               See Affidavit of Non-Military Status for Defendant Pengdi Han, Ex. F to Memorandum of Points and
               Authorities in Support of Plaintiff's Motion for Default Judgment Against Defendants Pengdi Han and DHAN

    b.          Defendant is currently in military service. The facts that support this statement are as follows (if this box is
                checked, the plaintiff must attach a supplement to this motion addressing the requirements in 50 U.S.C.
                § 3931(b)(2) to appoint an attorney for the Defendant before entering a judgment):




    c.          I am unable to determine whether or not Defendant is in military service. The facts that support this statement
                are as follows (if this box is checked, the plaintiff must attach a supplement to this motion addressing the
                bond requirement in 50 U.S.C. § 3931(b)(3)):




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12. Defaulting party is not an infant or incompetent party.


Plaintiff requests that this court enter a default judgment in favor of Plaintiff. A copy of the lodged proposed default
judgment is attached.


Date: 03/31/2020                                                     Respectfully submitted,

                                                                     Lynn Pinker Cox & Hurst
                                                                     Printed name of law firm




                                                                     Signature

                                                                     Edward Jason Dennis
                                                                     Name of Attorney for Plaintiff or Plaintiff




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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
2100 Ross Avenue, Dallas, Texas 75202

A true and correct copy of the foregoing document entitled: PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT UNDER
LBR 7055-1 will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
2(d); and (b) in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 03/31/2020 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
ttrager@rppmh.com; eje@manningllp.com; steve@kmcllp.com; steinbergh@gtlaw.com;
Chang@Blankrome.com; kbanner@greenbergglusker.com; ilandsberg@sklarkirsh.com;
jboustani@btlaw.com; pbenvenutti@kellerbenvenu; david@taylorstrategic.com

                                                                                         Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)                , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                         Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                         Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 03/31/2020        Edward Jason Dennis
 Date                         Printed Name                                                   Signature




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